Case 5:07-cr-00767-RMW Document 9-1 Filed 10/30/08 Page 1 of 2

EXHIBIT A
Case 5:07-cr-00767-RMW Document 9-1 Filed 10/30/08 Page 2 of 2

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TO .(Name and Address):
Antonio Rojas, Celina Michelle Rocha aka Michelle Rocha

1501 Almaden Exp., #6159
San Jose, CA 95125

LEVYING OFFICER (Namie and Address):

Santa Clara County Sheriff's Office
Office of the Sheriff-Civil Division
55 W Younger Ave

San Jose, CA 95110

NAME OF COURT, JUDICIAL DISTRICT or BRANCH COURT, IF ANY:

Santa Clara County Superior Court
191 North First Street

(408) 808-4800
Fax: (408) 998-0636

California Relay Service Number

San Jose, CA 95113
Limited (800).735-2929 TDD or 711
PLAINTIFF: : ICOURT.CASE NO;:
Conam Management Corporation
DEFENDANT: 108CV125100
Antoni Rojas Celina Michelle Rocha aka Michelle Rocha
LEVYING. OFFICER FILE NO.:
Notice to Vacate 2008775189

By virtue of the Writ of Execution for Possession/Real Property (eviction), issued out of the above court, you are hereby ordered to vacate the

premises described on the writ.

Eviction Address:

1501 Almaden Exp., #6159
San Jose, CA 95125

Final notice is hereby given that possession of the property must be turned over to the landlord on or before:

Eviction day, date and time:

Wednesday, October 29, 2008 12:01 AM

Should you fail to vacate the premises within the allotted time, | will immediately enforce the writ by removing you from the premises.
All personal property upon the premises at the time will be turned over to the landlord, who must return said personal property to you
upon your payment of the reasonable cost incurred by the landlord in storing the property from the date of eviction to the date of
payment. If the property is stored on the landlord's premises, the reasonable cost of storage is the fair rental value of the space
necessary for the time of storage. If you do not pay the reasonable storage costs and take possession within fifteen (15) days, the
landlord may either sell your property at a public sale and keep from the proceeds of the sale the costs of storage and of the sale
(1988 CCC), or, if the property is valued at less than $300.00, the landlord may dispose of your property or retain it for his own use.

(715.010(b)(3), 1174 CCP)

If you claim a right of possession of the premises that accrued prior to the commencement of this action, or if you were in

the writ is checked.

CPM Form 8.32
07/01/2008 (Revised)

possession of the premises on the date of the filing of the action and you are not named on the writ, complete and file the attached
Claim of Right of Possession form with this office. No claim of right to possession can be filed if box 24a(1) located on the back of

Laurie Smith
Sheriff

By:

Sheriff's Authorized Agent

Original
